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                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION OPIATE MDL No. 2804
LITIGATION
                                    Case No. 1:17-md-2804
This document relates to:
                                                  Judge Dan Aaron Polster

The City and County of San Francisco,             SHORT FORM FOR SUPPLEMENTING
California, and the People of the State of        COMPLAINT AND AMENDING
California v. Purdue Pharma L.P., et al.          DEFENDANTS AND JURY DEMAND
Case No. 1:19-op-45022-DAP




        Plaintiffs submit this supplemental pleading and Amended Complaint incorporating as if

fully set forth herein its own prior pleadings and the common factual allegations identified and

the RICO causes of action included in the Corrected Second Amended Complaint and Jury

Demand in the case of The County of Summit, Ohio, et al., v. Purdue Pharma L.P., et al., Case

No. 1:18-op-45090 (“Summit County Pleadings”), In Re National Prescription Opiate Litigation,

in the United States District Court for the Northern District of Ohio (ECF Nos. 513, 5141), and as

may be amended in the future, and any additional claims asserted herein. Plaintiffs also hereby

amend their complaint to alter the defendants against which claims are asserted as identified

below. To the extent defendants were previously sued in Plaintiffs’ existing complaint and they




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    ECF No. 513 is the redacted Summit Second Amended Complaint and ECF No. 514 is the
unredacted Summit Corrected Second Amended Complaint filed under seal in Case No. 1:17-
md-02804-DAP. The redacted Summit Corrected Second Amended Complaint is also filed in its
individual docket, Case No. 1:18-op-45090-DAP, ECF No. 24.
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are no longer identified as defendants herein, they have been dismissed without prejudice except

as limited by CMO-1, Section 6(e). ECF No. 232.

I.      INCORPORATION BY REFERENCE OF EXISTING COMPLAINT

       1.      Plaintiffs’ Existing Complaint (Case No. 1:19-op-45022-DAP, ECF No. 1) is
expressly incorporated by reference to this Short Form as if fully set forth herein except to the
extent that allegations regarding certain defendants that are not listed in section 2 below are
dismissed without prejudice.

II.     PARTIES – DEFENDANTS

       2.     Having reviewed the relevant ARCOS data, Plaintiffs assert claims against the
following Defendants:

            a. Defendants Named in Plaintiffs’ Existing Complaint and Previously Served:

               Purdue Pharma L.P.
               Richard S. Sackler
               Jonathan D. Sackler
               Mortimer D.A. Sackler
               Kathe A. Sackler
               Ilene Sackler Lefcourt
               Beverly Sackler
               Theresa Sackler
               David A. Sackler
               Trust for the Benefit of Members of the Raymond Sackler Family
               Rhodes Pharmaceuticals L.P.
               Cephalon, Inc.; Teva Pharmaceutical Industries, Ltd.; Teva Pharmaceuticals USA,
                Inc.
               Endo International plc; Endo Health Solutions Inc.; Endo Pharmaceuticals Inc.
               Janssen Pharmaceuticals, Inc. f/k/a Ortho-McNeil-Janssen Pharmaceuticals, Inc.
                and Janssen Pharmaceutica, Inc.
               Insys Therapeutics, Inc.
               Mallinckrodt plc; Mallinckrodt LLC




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               Allergan plc f/k/a Actavis plc; Allergan Finance LLC f/k/a Actavis, Inc. f/k/a
                Watson Pharmaceuticals, Inc.; Watson Laboratories, Inc.; Actavis Pharma, Inc.
                f/k/a Watson Pharma, Inc.; Actavis LLC2
               AmerisourceBergen Corporation
               Cardinal Health, Inc.
               McKesson Corporation

            b. Defendants not named in Plaintiffs’ Existing Complaint but named in the
               Summit County Pleadings:

       Plaintiffs incorporate by reference the allegations set forth in the Summit County
Pleadings against each of the defendants named below.

               Purdue Pharma Inc.; The Purdue Frederick Company, Inc.
               Johnson & Johnson; Noramco, Inc.
               Par Pharmaceutical, Inc.; Par Pharmaceutical Companies, Inc. f/k/a Par
                Pharmaceutical Holdings, Inc.
               SpecGx LLC
               AmerisourceBergen Drug Corporation
               Anda, Inc.

            c. Defendants not previously named in either Plaintiffs’ Existing Complaint or the
               Summit County Pleadings:

       Plaintiffs name the following defendants not previously named in either Plaintiffs’
Existing Complaint or the Summit County Pleadings:

               Hikma Pharmaceuticals plc; West-Ward Pharmaceutical Corp.

            d. Claims asserted against the above-listed defendants:

       All Causes of Action asserted in Plaintiffs’ Existing Complaint are incorporated by
reference herein. The First Cause of Action (Public Nuisance in the Name of the People of the
State of California), Second Cause of Action (Public Nuisance on Behalf of San Francisco),
Third Cause of Action (Violation of California Unfair Competition Law by the People of the

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   The list of Allergan-related entities shall be understood to incorporate all affiliates that
owned, manufactured, distributed, monitored, or sold opioid medicines at issue, including:
Allergan Finance, LLC; Allergan Sales, LLC; Allergan USA, Inc.; Warner Chilcott Company,
LLC; Watson Laboratories, Inc.; Actavis Elizabeth LLC; Actavis Pharma, Inc.; Actavis LLC;
Actavis Mid Atlantic LLC; Actavis Kadian LLC; Actavis Totowa LLC; Actavis South Atlantic
LLC; Actavis Laboratories UT, Inc.; and Actavis Laboratories FL, Inc.
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State of California), Fifth Cause of Action (Violation of Racketeer Influenced and Corrupt
Organizations Act on Behalf of San Francisco), and Sixth Cause of Action (Negligence on
Behalf of San Francisco) therein are asserted against all defendants. The Fourth Cause of Action
(Violation of False Advertising Law by the People of the State of California), Seventh Cause of
Action (Negligent Misrepresentation on Behalf of San Francisco), and Eighth Cause of Action
(Fraudulent Concealment on Behalf of San Francisco) therein are brought against the following
defendants:

               Purdue Pharma L.P.; Purdue Pharma Inc.; The Purdue Frederick Company, Inc.;
                Rhodes Pharmaceuticals L.P.
               Cephalon, Inc.; Teva Pharmaceutical Industries, Ltd.; Teva Pharmaceuticals USA,
                Inc.
               Janssen Pharmaceuticals, Inc. f/k/a Ortho-McNeil-Janssen Pharmaceuticals, Inc.
                and Janssen Pharmaceutica, Inc.; Johnson & Johnson; Noramco, Inc.
               Endo International plc; Endo Health Solutions Inc.; Endo Pharmaceuticals Inc.;
                Par Pharmaceutical, Inc.; Par Pharmaceutical Companies, Inc., f/k/a Par
                Pharmaceutical Holdings, Inc.
               Insys Therapeutics, Inc.
               Mallinckrodt plc; Mallinckrodt LLC; SpecGx LLC
               Allergan plc f/k/a Actavis plc; Allergan Finance LLC f/k/a Actavis, Inc. f/k/a
                Watson Pharmaceuticals, Inc.; Watson Laboratories, Inc.; Actavis Pharma, Inc.
                f/k/a Watson Pharma, Inc.; Actavis LLC
               Richard S. Sackler
               Jonathan D. Sackler
               Mortimer D.A. Sackler
               Kathe A. Sackler
               Ilene Sackler Lefcourt
               Beverly Sackler
               Theresa Sackler
               David A. Sackler
               Trust for the Benefit of Members of the Raymond Sackler Family

        In addition, Plaintiffs adopt the Summit County Pleadings First Claim for Relief
(Violation of Racketeer Influenced and Corrupt Organizations Act) against the following
defendants:

           Purdue Pharma L.P.; Purdue Pharma Inc.; The Purdue Frederick Company, Inc.
           Cephalon, Inc.; Teva Pharmaceutical Industries, Ltd.; Teva Pharmaceuticals USA,
            Inc.

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              Janssen Pharmaceuticals, Inc. f/k/a Ortho-McNeil-Janssen Pharmaceuticals, Inc. and
               Janssen Pharmaceutica, Inc.; Johnson & Johnson
              Endo Health Solutions Inc.; Endo Pharmaceuticals Inc.; Par Pharmaceutical, Inc.; Par
               Pharmaceutical Companies, Inc., f/k/a Par Pharmaceutical Holdings, Inc.
              Mallinckrodt plc; Mallinckrodt LLC; SpecGx LLC

      And Plaintiffs adopt the Summit County Pleadings Second Claim for Relief (Violation of
Racketeer Influenced and Corrupt Organizations Act) against the following defendants:

              Purdue Pharma L.P.; Purdue Pharma Inc.; The Purdue Frederick Company, Inc.
              Cephalon, Inc.; Teva Pharmaceutical Industries, Ltd.; Teva Pharmaceuticals USA,
               Inc.
              Endo Health Solutions Inc.; Endo Pharmaceuticals Inc.; Par Pharmaceutical, Inc.; Par
               Pharmaceutical Companies, Inc., f/k/a Par Pharmaceutical Holdings, Inc.
              Mallinckrodt plc; Mallinckrodt LLC; SpecGx LLC
              Allergan plc f/k/a Actavis plc; Allergan Finance LLC f/k/a Actavis, Inc. f/k/a Watson
               Pharmaceuticals, Inc.; Watson Laboratories, Inc.; Actavis Pharma, Inc. f/k/a Watson
               Pharma, Inc.; Actavis LLC
              AmerisourceBergen Drug Corporation
              Cardinal Health, Inc.
              McKesson Corporation

       I, Aelish M. Baig, Counsel for Plaintiff(s), certify that in identifying all Defendants, I
have followed the procedure approved by the Court and reviewed the ARCOS data that I
understand to be relevant to Plaintiff(s).

      I further certify that, except as set forth below, each of the Defendant(s) newly
added herein appears in the ARCOS data I reviewed.

       I understand that for each newly added Defendant not appearing in the ARCOS
data I must set forth below factual allegations sufficient to state a claim against any such
newly named Defendant that does not appear in the ARCOS data.

The following newly added Defendant(s) do not appear in the ARCOS data I reviewed:

Dated:            April 22, 2019        Signed:                s/ Aelish M. Baig

Factual Allegations Regarding Newly Named Individual Defendants

         2.1      Please refer to Attachment A hereto.



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III.      COMMON FACTUAL ALLEGATIONS

        3.      By checking the boxes in this section, Plaintiffs hereby incorporate by reference
to this document the common factual allegations set forth in the Summit County Pleadings as
identified in the Court’s Order implementing the Short Form procedure. ECF No. 1282.

       ☒ Common Factual Allegations (Paragraphs 130 through 670 and 746 through 813)
       ☒ RICO Marketing Enterprise Common Factual Allegations (Paragraphs 814-848)
       ☒ RICO Supply Chain Enterprise Common Factual Allegations (Paragraphs 849-877)

        4.      If additional claims are alleged below that were not pled in Plaintiffs’ Existing
Complaint (other than the RICO claims asserted herein), the facts supporting those allegations
must be pleaded here. Plaintiff(s) assert(s) the following additional facts to support the claim(s)
identified in Paragraph 6 below (below or attached):




IV.       CLAIMS

       5.      The following federal RICO causes of action asserted in the Summit County
Pleadings as identified in the Court’s implementing order and any subsequent amendments, ECF
No. 1282, are incorporated in this Short Form by reference, in addition to the causes of action
already asserted in the Plaintiff(s)’s Existing Complaint (check all that apply): 3

       ☒ First Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Marketing
       Enterprise (Against Defendants Purdue, Cephalon, Janssen, Endo and Mallinckrodt (the
       “RICO Marketing Defendants”)) (Summit County Pleadings, Paragraphs 878-905)

       ☒ Second Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Supply
       Chain Enterprise (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
       McKesson, Cardinal, and AmerisourceBergen (the “RICO Supply Chain Defendants”))
       (Summit County Pleadings, Paragraphs 906-938)


          6.     Plaintiffs assert the following additional claims as indicated (below or attached):


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    Plaintiffs also incorporate by reference the Fifth Cause of Action for Violation of Racketeer
Influenced and Corrupt Organizations Act from Plaintiffs’ Existing Complaint. See infra, §II.d.
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        7.      To the extent Plaintiff(s) wish(es) to dismiss claims previously asserted in
Plaintiff(s)’s Existing Complaint, they are identified below and will be dismissed without
prejudice.




          WHEREFORE, Plaintiff(s) prays for relief as set forth in the Summit County Pleadings in

In Re National Prescription Opiate Litigation in the United States District Court for the Northern

District of Ohio, MDL No. 2804 and in Plaintiffs’ Existing Complaint as has been amended

herein.

Dated: April 22, 2019                                       s/ Aelish M. Baig
                                                            Attorney for Plaintiff(s)




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                              Attachment A




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I.      THE IDENTIFICATION OF NEWLY NAMED DEFENDANTS

        A.   Defendants Not Named in Either Plaintiffs’ Existing Complaint or the
        Summit County Pleadings
        1.       The following defendants, not previously named in Plaintiffs’ Existing Complaint

or the Summit County Pleadings, are named herein based on ARCOS data.

        2.       Defendant Hikma Pharmaceuticals plc (“Hikma Pharmaceuticals”) is global

pharmaceuticals company incorporated in England and Wales.                 Defendant West-Ward

Pharmaceutical Corp. (“West-Ward” and, together with Hikma Pharmaceuticals, “Hikma”) is a
wholly owned subsidiary of Hikma Pharmaceuticals that maintains its headquarters in

Eatontown, New Jersey.            Hikma manufactures, markets, and sells prescription opioids

throughout the United States, including in and around the City and County of San Francisco.

        B.   Defendants Not Previously Named in Plaintiffs’ Existing Complaint but
        Named in the Summit County Pleadings
        3.       The following defendants not named in Plaintiffs’ Existing Complaint are named

in the Summit County Pleadings, The County of Summit, Ohio, et al., v. Purdue Pharma L.P., et

al., Case No. 1:18-op-45090 (“Summit County Pleadings”), In Re National Prescription Opiate

Litigation, in the United States District Court for the Northern District of Ohio (ECF Nos. 513,

514). Plaintiffs incorporate the description of each of the following defendants as set forth in the

Summit County Pleadings, §II (PARTIES).

                Purdue Pharma Inc.;

                The Purdue Frederick Company, Inc.;

                Johnson & Johnson;

                Noramco, Inc.;

                Par Pharmaceutical, Inc.;

                Par Pharmaceutical Companies, Inc., f/k/a Par Pharmaceutical Holdings, Inc.;


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                 SpecGx LLC;

                 AmerisourceBergen Drug Corporation;

                 Anda, Inc.

         C.       Clarification on Previously Defined Terms
         4.       All terms collectively identifying groups of defendants defined in either Plaintiffs’

Existing Complaint and the Summit County Pleadings are incorporated by reference herein.

         5.       To the extent a term referring to an individual defendant or group of defendants is

defined differently in Plaintiffs’ Existing Complaint and the Summit County Pleadings, such term

shall be understood to include all of the subsidiary defendants grouped under that term as defined

in both of the complaints. For example, if the term “Defendant A” was defined in Plaintiffs’

Existing Complaint to include Subdefendant 1 and Subdefendant 2, but was defined in the

Summit County Pleadings to include Subdefendant 1 and Subdefendant 3, “Defendant A” is now

defined to include Subdefendant 1, Subdefendant 2, and Subdefendant 3.


II.      PERSONAL JURISDICTION

         6.       This is a judicial district where the above-named defendants are subject to

personal jurisdiction in accordance with 28 U.S.C. §1331 and Cal. Code Civ. P. §410.10, the

California long-arm statute. Each of the defendants identified in §I above purposefully availed

themselves of the benefits, profits and privileges deriving from their business activities in this

State.

         7.       Each of the above-listed defendants also regularly engages in business within the

State of California and within this District. Each defendant has committed tortious acts that have

caused injury to the City and County of San Francisco. Each defendant expects, or should

reasonably have expected, those acts to have consequences in the State of California and in the

City and County of San Francisco. Moreover, each defendant solicited business within this

District, engaged in persistent courses of conduct here and derived substantial revenue from
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goods used and services rendered in the State of California and this District through interstate

commerce.

        8.     Each defendant is regularly engaged in the business of manufacturing and

distributing prescription opioids, either directly or indirectly through third-party related entities,

in the State of California and, specifically, in the City and County of San Francisco. Each

defendant’s activities in the City and County of San Francisco in connection with the

manufacture and distribution of prescription opioids were, and are, continuous and systematic

and give rise to the causes of action alleged herein.




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                                CERTIFICATE OF SERVICE
        The undersigned hereby certifies that on April 22, 2019, the foregoing was filed

electronically with the Clerk of Court using the Court’s CM/ECF system, and will be served via

the Court’s CM/ECF filing system on all attorneys of record.


                                                 s/ Aelish M. Baig
                                                 AELISH M. BAIG

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